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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
                         Plaintiff,  )
                                     )                  CRIMINAL ACTION
v.                                   )
                                     )                  No. 10-20129-14-KHV
JANIS DIGGINS,                       )
                         Defendant. )
_____________________________________)

                               MEMORANDUM AND ORDER

       Defendant pled guilty to the offense of conspiracy to distribute and possess with intent to

distribute more than five kilograms of cocaine and more than 280 grams of cocaine base. See Plea

Agreement (Doc. #296) ¶ 1. On July 6, 2011, the Court sentenced defendant to 71 months in prison.

This matter is before the Court on defendant’s letter (Doc. #643) filed November 4, 2011, which the

Court construes as a motion for retroactive application of the sentencing guidelines under 18 U.S.C.

§ 3582(c). For reasons stated below, the Court overrules defendant’s motion.

       Defendant asks the Court to reduce her sentence based on the Fair Sentencing Act of 2010,

Pub. L. No. 111-220, 124 Stat. 2372 (“FSA”) and Amendment 750 to the Sentencing Guidelines,

which implemented portions of the FSA. In part, the FSA raised the amount of crack cocaine

necessary to trigger the ten-year mandatory minimum from 50 to 280 grams. Here, the statutory

change does not apply to defendant because the indictment alleged and defendant pled guilty to

conspiracy to distribute and possess with intent to distribute more than 280 grams of cocaine base

and more than five kilograms of cocaine.

       The FSA and Amendment 750 also reduced the crack cocaine/powder cocaine ratio to 18:1

in the Sentencing Guidelines. Here, the Court determined that defendant was accountable for

1.36 kilograms of powder cocaine. ¶¶ 151, 159. Because the Court did not determine the sentencing
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guideline range based on any amount of crack cocaine, the amendment to the guideline range for

crack cocaine offenses does not alter defendant’s sentencing guideline range.

       Defendant also asks that the Court reduce her sentence based on a number of factors

including post-conviction rehabilitation. A federal district court may modify a defendant’s sentence

only where Congress has expressly authorized it to do so. See United States v. Blackwell, 81 F.3d

945, 947 (10th Cir. 1996); 18 U.S.C. § 3582©. Congress has set forth three limited circumstances

in which a court may modify a sentence: (1) upon motion of the Director of the Bureau of Prisons

in extraordinary circumstances or where defendant has reached 70 years of age and has served at

least 30 years in prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when

defendant has been sentenced “based on a sentencing range that has subsequently been lowered by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None

of these exceptions apply here. Moreover, Rules 35 and 36 of the Federal Rules of Criminal

Procedure clearly do not authorize a substantive modification of defendant’s sentence at this time.

See id.; Fed. R. Civ. P. 35 (authorizes resentencing to correct illegal sentence on remand from court

of appeals, to reflect defendant’s substantial assistance on motion of the government, and to correct

arithmetical, technical or other clear error within 14 days of sentencing); Fed. R. Civ. P. 36

(authorizes court to correct clerical-type errors). Finally, the Court does not have inherent authority

to resentence defendant. See Blackwell, 81 F.3d at 949. For these reasons, the Court does not have

jurisdiction to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #643) filed November 4,

2011, which the Court construes as a motion for retroactive application of the sentencing guidelines

under 18 U.S.C. § 3582(c), be and hereby is OVERRULED.


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     Dated this 21st day of November, 2011 at Kansas City, Kansas.

                                        s/ Kathryn H. Vratil
                                        KATHRYN H. VRATIL
                                        United States District Judge




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